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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

               Defendant.


                    GOVERNMENT’S UNOPPOSED MOTION FOR LEAVE
                         TO FILE DOCUMENTS UNDER SEAL


       The United States of America, by and through Special Counsel Robert S. Mueller III,

respectfully moves for leave to file under seal documents in support of its opposition to

defendant Manafort’s motion to modify bail conditions. These documents are submitted as an

exhibit hereto. The government’s opposition concerns defendant Manafort’s ghostwriting of an

op-ed to influence public opinion, notwithstanding the Court’s order barring the parties and

counsel, among others, from making out-of-court statements that could interfere with a fair trial.

The government seeks leave to file documentary evidence of that effort, including a copy of the

op-ed itself, related communications, and an accompanying declaration. Sealing is appropriate

here, because public disclosure of the information would result in making the entirety of the

ghostwritten op-ed public and thus cause the very harm the Court’s order sought to avoid.

       Accordingly, the government requests that the Court grant it leave to file the attached

documents under seal. Counsel for defendant Manafort does not oppose the relief sought herein.
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                                           Respectfully submitted,

                                           ROBERT S. MUELLER III
                                           Special Counsel

Dated: December 4, 2017             By:    __/s/__Andrew Weissmann___
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                                           Greg D. Andres (D.D.C. Bar No. 459221)
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